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Commonwealth of Pennsylvania
Department of State
September 21, 2018




                PENNSYLVANIA VOTING SYSTEM & ELECTRONIC POLL BOOK REPORT
Summary
The information in this report is intended to provide a snapshot of recent and upcoming actions
taken by the Department of State (DOS) regarding the examination and certification of voting
systems and the approval of electronic poll books.
Please keep in mind that voting systems must first be examined by an authorized federal testing
laboratory and certified by the Election Assistance Commission (EAC) before it can be submitted for
examination to the DOS.
If a voting system or electronic poll book does not appear on the DOS voting system page or in this
status report, it has not been submitted for examination.

Certified Systems and Systems Under Test
   •   For information about voting systems and electronic poll books that have been certified or
       approved by the DOS please refer to our voting system page here.
   •   For information about voting systems that have either been certified or are currently
       undergoing certification testing at the federal level please refer to the Election Assistance
       Commission’s Voting System Testing Updates Blog and System Certification Process page.

Dept. of State Systems Under Test Snapshot
Electronic Voting Systems
The systems are listed in the order in which we anticipate PA certification examination.

          Manufacturer                               Model                            PA Test Phase

              Unisyn                      OpenElect 1.3.0.2A                    Completed certification


               ES&S                        EVS 6.0.0.0/6.0.2.1                 PA Testing on new
                                                                               release EVS 6021 with
                                                                               fixes to anomalies
                                                                               scheduled during the
                                                                               week of Sep24, 2018

              Unisyn                        OpenElect 2.0A                     PA Testing on new
                                                                               release OpenElect 2.0A2
                                                                               with fixes to anomalies
                                                                               scheduled during the
                                                                               week of Oct 1, 2018




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   Dominion Voting Systems          Democracy Suite 5.5          Completed EAC
                                    (with ICX-BMD)               certification. PA
                                                                 examination scheduled
                                                                 during the week of Oct
                                                                 15,2018
           ClearBallot               ClearVote 1.4.5             Pending EAC
                                                                 certification report. DOS
                                                                 is working with
                                                                 ClearBallot to schedule
                                                                 PA examination on or
                                                                 before Oct 29th, 2018
       Hart InterCivic Inc             Verity Voting             Vendor submitted
                                                                 application for EAC
                                                                 certification on
                                                                 9/17/2018. DOS will
                                                                 begin working with
                                                                 vendor to finalize PA
                                                                 testing timelines.

Electronic Poll Books
         Manufacturer                          Model                      PA Test Phase

             VOTEC                   VoteSafe(version PA-Cert)          Approved with
                                                                         Conditions
    Tenex Software Solutions          Precinct Central 3.2.0.1          Approved with
                                                                         Conditions
              ES&S                         EZRoster 3.5.0.1             Approved with
                                                                         Conditions
              Robis                        AskEd 3.4.128.7              Approval Report
                                                                         Review
            Knowink                         Pollpad 1.1.3               Approval Report
                                                                         Review



Dept. of State Actions Since Previous Status

   Description of Action                       Date of Action                  Status

 Discussion with ES&S, SLI and      August /September 2018                In progress
  EAC to follow EVS 6020 and
 6021 EAC certification testing
 Unisyn OpenElect 2.0A Voting            July 27-29, 2018                 Complete
      System Examination                                         (DOS will test Unisyn new release
                                                                 OpenElect 2.0A2 the week of Oct 1st.)

 Discussion with Unisyn, SLI and    August /September 2018                In progress
EAC to follow EAC certification
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           testing for
       OpenElect 2.0A2
Work with Dominion to              August /September 2018                 In progress
 streamline testing
      efforts for
 Democracy Suite 5.5
      Work with Clear Ballot to    August /September 2018                 In progress
   streamline testing
  efforts for ClearVote
           1.4.5

Dept. of State Upcoming Actions

     Description of Action               Due date                              Progress

 ES&S EVS 6021 Voting System          Sep 24 -28, 2018                 Test Planning
        Examination                                           (Specific tests to validate the fix done to
                                                              EVS 6000 and a full regression test of the
                                                              entire system by running Closed primary
                                                              and General Election is being planned.)

Unisyn OpenElect 2.0A2 Voting           Oct 1-5,2018                   Test Planning
     System Examination                                       (Specific tests to validate the fix done to
                                                              OpenElect 2.0A and a full regression test
                                                               of the entire system by running Closed
                                                               primary and General Election is being
                                                                               planned.)

Dominion Democracy Suite 5.5           Oct 15-19,2018                  Test Planning
 Voting System Examination                                   (functional test for each PA Election Code
                                                                 Requirement and Accessibility and
                                                                           Security Testing.)

  ClearBallot ClearVote 1.4.5        Oct 29-Now 2,2018                 Test Planning
                                                             (functional test for each PA Election Code
                                                                 Requirement and Accessibility and
                                                                           Security Testing.)

Get Secretary’s signature            September 2018           Report waiting on final review
  on Knowink PollPad                                          and approval of a condition
     electronic 1.1.3
  electronic poll book                                        regarding sale/transfer of
    approval report                                           ownership.

Get Secretary’s signature            September 2018           Report waiting on final review
     on Robis AskEd                                           and approval of a condition
  electronic poll book
    approval report                                           regarding sale/transfer of
                                                              ownership.


Important Notes/Comments



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                               Senate State Government Committee
                                    Public Hearing on SB 1249
                                   September 25, 2018, 9:30 AM
                             Dauphin County Administration Building
                       Written Testimony of Jonathan Marks, Commissioner
                                Pennsylvania Department of State
                        Bureau of Commissions, Elections and Legislation

Thank you, Chairman Folmer, Minority Chair Williams, and members of the Senate State
Government committee for allowing the Department of State (Department) to submit written
comments and testify at today’s hearing. We are pleased to provide the following overview of
the national environment, state process and timelines for voting system replacement, information
about the certification of new voting systems and the standards for certification, the status of
county endeavors, and support for Election administration reforms.

I.      Overview of National Context and Commonwealth Process
Secure, resilient and accessible elections are of great importance to all of us who administer
them. As public servants charged with protecting our most fundamental right, we are always
attentive to our responsibility to ensure that right can be exercised freely, securely and with full
confidence in the integrity of both the processes and the machinery of elections. By virtually
everyone’s standards, our current voting systems are approaching the end of their usable life, and
they are built on operating systems that are no longer supported or soon will not be supported by
the manufacturers. Over the last year, experts and elected officials from across the country and
world, including the President of the United States, U.S. Senate Intelligence Committee, and the
U.S. Department of Homeland Security, have issued strong warnings about the risks and
vulnerabilities we face from both cyber threats and aging voting systems.1
These experts, including professionals in national security, intelligence, computer science,
elections, and more, have urged states to act as quickly as possible, to replace older voting
machines with voting systems that produce a paper record that voters can verify, and which
enable robust post-election audits. For example, in the last several months, U.S. Homeland
Security Secretary Kirstjen Nielsen has been escalating her calls for states and counties to
quickly implement these types of systems. Over the last month, she has called on “every state in
the Union to ensure that by the 2020 election, they have redundant, auditable election systems.
The best way to do that is with a physical paper trail and effective audits so that Americans can
be confident that — no matter what — their vote is counted and counted correctly.”2


1
  See, e.g., President Trump’s Executive Order on Imposing Certain Sanctions in the Event of Foreign Interference in
a United States Election, https://www.whitehouse.gov/presidential-actions/executive-order-imposing-certain-
sanctions-event-foreign-interference-united-states-election/ (declaring a national emergency to deal with this
threat)(September 12, 2018); U.S. Senate Intelligence Committee Report, Summary of Initial Findings and
Recommendations (May 2018), https://www.burr.senate.gov/imo/media/doc/RussRptInstlmt1-
%20ElecSec%20Findings,Recs2.pdf.
2
 Secretary Kirstjen M. Nielsen Remarks: Rethinking Homeland Security in an Age of Disruption,
https://www.dhs.gov/news/2018/09/05/secretary-nielsen-remarks-rethinking-homeland-security-age-disruption;
https://www.washingtonpost.com/world/national-security/hacking-cyberattacks-now-the-biggest-threat-to-us-


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The STEM sector and other professional fields also strongly urge these actions. This month, the
National Academies of Sciences, Engineering, and Medicine issued a report, “Securing the Vote:
Protecting American Democracy.” The report assesses current technology and standards for
voting, and recommends steps that federal, state, and local governments, election administrators,
and vendors of voting technology should take to improve the security of election infrastructure,
including that all elections should be conducted with paper ballots by 2020, and states should
mandate risk-limiting audits within a decade.3 Additionally, multiple courts have issued
decisions in recent weeks indicating that states and counties that fail to heed these changed
standards for security and continue to employ paperless Direct Recording Electronic voting
machines (DREs) may violate voters’ federal constitutional rights.4 Pennsylvania is one of only
a handful of states remaining that use all or primarily paperless voting systems.
In light of these circumstances, and pursuant to our statutory responsibility, the Department has
the obligation to determine whether a voting system has adequate security measures and
demonstrable accuracy, such that the Commonwealth’s voters can have confidence that their
vote is secure and will be accurately counted. Due to the age of our voting systems, the changing
nature of the threats we face, and the virtually unanimous sentiment that voting systems must be
fully auditable and capable of recovering quickly from error or attack, we have determined that
our current voting systems need to be responsibly upgraded. Toward this end, the Department
has been effectuating a conscientious and feasible plan to ensure that Pennsylvania voters are
using the most secure, auditable, accessible, and resilient voting machines available, meeting
current security standards. To do this responsibly, the Department spoke with many states and
counties about timelines under which this transition could occur, and determined that while we
could not expect counties to achieve this goal in 2018, that 2019 or early 2020 would provide at
least as much time as many other jurisdictions which have transitioned.


trumps-homeland-security-chief-warns/2018/09/05/d0045800-b119-11e8-a20b-
5f4f84429666_story.html?utm_term=.9da708d971c8; See also https://thehill.com/policy/cybersecurity/403148-
dhs-chief-calls-on-election-officials-in-all-50-states-to-have (“Nielsen told a group of reporters touring the
Department of Homeland Security's National Cybersecurity and Communications Integration Center (NCCIC) in
Arlington, Va., that she wants "all state and local election officials to make certain that by the 2020 presidential
election, every American votes on a verifiable and auditable ballot.")
3
  http://www8.nationalacademies.org/onpinews/newsitem.aspx?RecordID=25120; See also National Election
Defense Coalition Letter to Elections Officials, https://www.electiondefense.org/letter-to-elections-officials
(including support from FreedomWorks and Americans for Tax Reform, among many other bi-partisan and non-
partisan organizations and officials).
4
  See, e.g., Stein v. Cortés, U.S. District Court, E.D. Pa., 2:16-cv-6287 (Decision 09/07/18 at 40-1) (Denying the
Department’s Motion to Dismiss some of the plaintiffs’ constitutional claims, allowing claims to go forward alleging
that the use of the paperless DREs may violate plaintiffs’ First Amendment, Due process, and Equal protection
claims based on the risk of casting an ineffective vote and based on the unequal use of DRES in some counties but
not others, and indicating that defendants will have to “justify” continuing to use paperless DREs); Curling v. Kemp,
U.S. District Court, N.D. Georgia, 1:17-cv-02989, (Decision 09/17/18)(Giving substantial weight to the fact that
“National security experts and cybersecurity experts at the highest levels of our nation’s government and
institutions have weighed in on the specific issue of DRE systems in upcoming elections and found them to be
highly vulnerable to interference, particularly in the absence of any paper ballot audit trail;” and finding that
Plaintiffs are substantially likely to succeed on the merits of one or more of their constitutional claims, that the
DRE voting system deprives them or puts them at imminent risk of deprivation of their fundamental right to
cast an effective vote (i.e., a vote that is accurately counted), and when they vote by DRE, their vote is in jeopardy
of being counted less accurately and thus given less weight than a paper ballot.)

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To initiate our plan, in December 2017, the Department held a voting systems vendor forum that
was open to the public, county election officials, and other stakeholders, to begin exploring new
voting machines options for Pennsylvania. In February 2018, the Department issued a directive
requiring that all new voting systems procured by Pennsylvania counties have a voter-verifiable
paper record. In April 2018, we released an Invitation for Bid (IFB) for vendors to submit
proposals for these systems from which counties may choose. We also issued further direction
that Pennsylvania counties must select new voting systems that meet these standards by
December 31, 2019, urging the counties to implement these new voting systems as soon as
feasible and no later than the 2020 Primary Election. On April 26, the Department held a voting
systems vendor demonstration, allowing the public, legislators, county officials, press and all
stakeholders to view and try the new voting systems under consideration. (Thank you to Senator
Folmer for attending this demo.)
Over the last 10 months, the Department has visited dozens of counties, spoken at several county
government conferences, provided counties feedback on proposals, suggested timelines for
implementation, recommendations for negotiation of terms, and much more. More details on the
status of county endeavors will be provided later in this testimony.


II.     Certification and Standards for New Systems

To ensure the highest level of security, resiliency, and accessibility for Pennsylvania voters, the
Department released new voting system security and accessibility standards in Spring 2018, in
order to meet current expert recommendations on security and accessibility. New voting
equipment must not only include voter-verifiable paper records and achieve U.S. Election
Assistance Commission (EAC) certification, but must also be assessed under these
comprehensive state standards.
The PA Security Standard5 incorporates tests to ensure confidentiality, vote anonymity, integrity,
security, and auditability of the voting systems. The test specifications include but are not limited
to:

    •   Penetration testing that evaluates the security of the voting system by trying to exploit its
        potential vulnerabilities.
    •   Access control testing to confirm that the voting system can detect and prevent
        unauthorized access to the system and election data.
    •   Evaluation of voting system audit logging capabilities to confirm that the system logs will
        allow auditing, as well as investigation of any apparent fraudulent or malicious activity.
    •   Tests that ensure every physical access point is well secured and system software and
        firmware is protected from tampering.



5
 The complete Security Standard may be found here:
https://www.dos.pa.gov/VotingElections/Documents/Voting%20Systems/Directives/Conduct%20Directive%20Att
%20E%20-%20PA%20Voting%20System%20Security%20Standard%20v06122018.pdf

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The PA Accessibility Standard aims to provide better information about the usability of voting
systems for voters with disabilities. This standard entails expert review by usability and
accessibility examiners and feedback from the voters and poll workers who will use the voting
systems, identifying areas of concern and level of severity as follows:
   •   Voters with disabilities use the system, voting a reasonable length PA ballot, and
       providing feedback. The examiners facilitate, observe and identify best practices for use.
   •   Election officials/poll workers test the accessibility features, especially how they are
       activated during an election, and comment on the usability of system.
   •   The expert examiners consolidate the findings into a report, identifying summary
       measures needed for voters to use the voting system effectively, and poll worker and voter
       education requirements or guidance, if any.

One voting system has already completed state and federal certification. A second voting system
is wrapping up its testing after addressing issues identified during Kansas’s primary election in
August; we expect this testing to be complete in September and the system to be ready for
certification. A third voting system has completed federal certification, was examined by the
state at the end of August, and is on schedule to finish certification in Fall 2018. A fourth system
has completed its federal testing and will be tested by the state in October. A fifth system has
begun testing for both federal and state certification, and is expected to be ready for certification
by Fall/Winter 2018. A sixth system is expected to initiate its process for federal and state
certification in late Fall 2018.

With the transition to voting systems with paper records, the Commonwealth will also be
bolstering our post-election audit requirements. We are currently gathering information about
different models of risk-limiting audits to identify options that are not only effective but also as
straightforward as possible to implement.


III.   Status of County Endeavors
The Department has been traveling around the state meeting with county commissioners,
election directors, and other interested personnel to answer questions, offer assistance on every
step of the process, serve as a central hub to help leverage negotiating power, and provide
suggested task lists and timelines. Most counties have for months or even longer been exploring
voting systems options, examining machines, seeking public input and quotes from vendors, and
assessing preferred timeframes for implementation. One county, Susquehanna County, procured
new systems and is implementing those new systems in the upcoming November election.
Several other counties are planning to follow soon and implement new systems in the 2019
primary. Most counties appear most likely to implement new systems in the 2019 general
election, though some counties may choose to implement in the 2020 primary.
The Department is working closely to provide support and assistance to all the counties,
including the largest county, Philadelphia, which is working hard to take the steps necessary to
procure and implement new systems. Philadelphia issued a Request for Information (RFI) on
June 4, 2018, which stated their seeking of “statements of interest, capabilities, and Rough Order
of Magnitude (ROM) cost estimates from all Respondents interested in, and capable of,
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providing a State of Pennsylvania certified solution for Election Systems to include voting
machines, electronic poll books and associated components in time for the 2019 General
Election.”6 The Department will also be holding six regional voting system demonstrations
around the state in November and December, both to assist counties and to provide public
education. In addition, three legislative briefings will be held in the next month.
Not surprisingly, the biggest concern expressed by most counties is funding. The Department is
investigating every option for funding and financing, including grant opportunities, creative
financing options, appropriations, partnerships, bonds, leases and more. We have designated
100% of the funds Pennsylvania will receive in federal funding under the Omnibus
Appropriations Act of 2018 to be distributed proportionately to the counties for replacement of
the voting systems, which will total $14.15 million including the state’s 5-percent match.
Though a welcome down payment, this is obviously not nearly enough. The administration is
advocating strongly for additional federal funding, and is committed to working with the
Pennsylvania legislature for an appropriation of state funding next year. We expect this system
replacement initiative to be a cost-share of federal, state, and local dollars. We are also
exploring options for long-term planning and saving for future system upgrade needs.


IV.    PA Election Law Advisory Board and other Election Administration Reforms

The Department is keenly aware that replacing aging voting equipment is only one piece of
restoring and maintaining voters’ confidence in elections. When we meet with county election
officials, they express their objectives to make the voting experience better for their voters, but
feel constrained by outdated election laws that limit their ability to be responsive to the needs of
today’s voters. These election officials have some valuable ideas about how to both serve their
voters better, and increase efficiency and cost-savings, as evidenced by their thoughtful
testimony here today. We share many of these goals, including enacting No-excuse Absentee
Voting with timeframes and procedures that meet today’s needs, reducing wasteful and outdated
printing requirements, and addressing poll worker shortages, among other issues. We are
reviewing the Pennsylvania Election Law Advisory Board bill proposed by Senator Vogel and
look forward to continuing our collaboration with county election officials, other elections
stakeholders, and the legislature to modernize Commonwealth elections.

V.     Conclusion

The Commonwealth’s voting processes work well and voters can be confident in casting their
votes, thanks to the robust security measures that are in place to protect the integrity of our
elections and the equally robust commitment of local, state, and federal officials. County
elections personnel and the tens of thousands of poll workers who will be on duty at polling
locations across the Commonwealth on November 6th are extremely dedicated and work
diligently to provide the most secure and efficient elections they can to their voters. The
Department works closely with all 67 county boards of elections, as well as experts from the

6
  For the complete RFI, see
http://www.phila.gov/rfp/Documents/Election%20Systems%20RFI%20for%20Review%20and%20Posting%20FINAL
.pdf.

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state and federal Departments of Homeland Security, Center for Internet Security (CIS), the
National Guard, the PA Emergency Management Agency (PEMA), state and county IT staff, PA
State Police, and many other key partners, and these partnerships and resources have grown
tremendously over the last year.

Nonetheless, we must move forward responsibly based on the nearly unanimous
recommendations of security experts. The Administration is strongly committed to working with
the legislature to help fund these necessary upgrades on behalf of Pennsylvania voters, and to
pass legislation to improve efficiency, cost-savings, and increasing accessibility for the voters of
this Commonwealth.

Thank you for your time and efforts to enhance election security and enact voting reforms.




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